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Fill in this information to identify the case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this is an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/25
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Publishers Clearing House LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7 West 22nd Street                                              P.O. Box 610
                                  New York, NY 10010                                              Hicksville, NY 11802
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.pch.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Publishers Clearing House LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5418

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,424,000 (amount subject to adjustment on 4/01/28 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




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Debtor    Publishers Clearing House LLC                                                                   Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Publishers Clearing House LLC                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 9, 2025
                                                  MM / DD / YYYY


                             X /s/ William H. Henrich                                                     William H. Henrich
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Co-Chief Restructuring Officer




18. Signature of attorney    X /s/ Tracy L. Klestadt                                                       Date April 9, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Tracy L. Klestadt
                                 Printed name

                                 Klestadt Winters Jureller Southard & Stevens, LLP
                                 Firm name

                                 200 West 41st Street
                                 17th Floor
                                 New York, NY 10036
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 972-3000                Email address      tklestadt@klestadt.com

                                 2089985 NY
                                 Bar number and State




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                           UNANIMOUS WRITTEN CONSENT OF
                              THE BOARD OF DIRECTORS
                                         OF
                           PUBLISHERS CLEARING HOUSE LLC


               THE UNDERSIGNED, constituting all the members of the Board of Directors of
PUBLISHERS CLEARING HOUSE LLC, a New York limited liability company, acting pursuant
to the Company’s Operating Agreement, dated as of October 1, 2002 (as amended and restated to
the date hereof), do hereby consent to and adopt the following resolutions in lieu of a meeting with
the same force and effect as if adopted at a duly held meeting of the Board with the direction that
this Unanimous Written Consent (this “Unanimous Consent”) be filed in the minute book of the
Company:

               WHEREAS, this Board has reviewed and analyzed the materials regarding the
financial condition, capital structure, liquidity position, short-term and long-term prospects of
Publishers Clearing House LLC, a New York limited liability company (the “Company”), and the
restructuring and other strategic alternatives available to it, and the impact of the foregoing on the
Company’s business; and

                WHEREAS, this Board has determined that it is desirable and in the best interests
of the Company and its creditors, employees, shareholders, and other interested parties that a
petition be filed by the Company seeking relief under the provisions of Chapter 11 of Title 11 of
the Bankruptcy Code (the “Bankruptcy Code”);

               NOW THEREFORE, BE IT RESOLVED, that the Company is hereby empowered,
authorized, and directed to file a voluntary petition for relief under Chapter 11 of the Bankruptcy
Code (the “Chapter 11 Case”) in a court of proper jurisdiction;

               RESOLVED FURTHER, that the officers of the Company (each an “Authorized
Person” and collectively, the “Authorized Persons”) are, and each of them acting individually is,
hereby appointed as the Company’s authorized representative(s) in the Chapter 11 Case, and in
such capacity, the Authorized Persons (and their delegates) are, and each of them acting
individually is, hereby empowered, authorized, and directed, in consultation with and at the
direction of Andrew C. Goldberg, the Company’s chief executive office (the “CEO”), to execute
and file on behalf of the Company, all petitions, schedules, lists, applications, pleadings and other
motions, papers, agreements, consents or documents, and to take any and all action that this Board
deems necessary or proper to obtain such relief, including, without limitation, any action necessary
to maintain the ordinary course operation of the Company’s business;

               RESOLVED FURTHER, that this Board approves the engagement of Getzler
Henrich & Associates LLC (“GH”), as financial advisors to the Company, and that William H.
Henrich, Co-Chairman of GH, and Laurence Sax, Managing Director of GH, are hereby appointed
as co-Chief Restructuring Officers (“CROs”) of the Company, reporting to the CEO, in each case
upon the terms set forth in that certain Letter Agreement dated as of January 29, 2025 between GH
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and the Company (the “GH Engagement Letter”), and, as such, each of the CROs constitutes an
“Authorized Person” within the meaning of the resolutions adopted herein;

               RESOLVED FURTHER, that this Board approves the engagement of SSG
Advisors, LLC as the exclusive investment banker representing the Company in securing financing
and other investment opportunities in the Chapter 11 Case, and ratifies the Engagement Agreement
dated February 9, 2025, by and between SSG Advisors, LLC and the Company;

                RESOLVED FURTHER, that this Board approves the engagement of Omni Agent
Solutions, Inc., as the notice and claims agent to provide services to the Company in and for the
Chapter 11 Case, which may include (but not limited to) noticing and communications services,
claims management and reconciliation services, balloting and tabulation services, account
management and disbursement services, and other services in and for the Chapter 11 Case, all as
more fully set forth in the Standard Services Agreement, by and between Omni Agent Solutions,
Inc. and the Company;

                 RESOLVED FURTHER, that the law firm of Klestadt Winters Jureller Southard
& Stevens, LLP (“KWJSS”) is hereby empowered, authorized, and directed to represent the
Company as its general bankruptcy counsel, and to represent and assist the Company in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights and obligations, including the preparation of pleadings and filings; and in connection
therewith, the Authorized Persons (and their delegates) are, and each of them acting individually
is, hereby empowered, authorized, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Chapter 11 Case, and to cause
to be filed an appropriate application for authority to retain the services of KWJSS;

                RESOLVED FURTHER, that the Authorized Persons (and their delegates) are, and
each of them acting individually is, hereby empowered, authorized, and directed to employ any
other individual and/or firm as professionals or consultants or financial advisors to the Company
as are deemed necessary by this Board to represent and assist the Company in carrying out its
duties under Chapter 11 of the Bankruptcy Code, and in connection therewith, the Authorized
Persons (and their delegates) are, and each of them acting individually is, hereby empowered,
authorized, and directed, in consultation with and at the direction of the CEO, to execute
appropriate retention agreements, pay appropriate retainers, if required, prior to and immediately
upon the filing of the Chapter 11 Case, and to cause to be filed an appropriate application for
authority to retain the services of any such individual and/or firm;

                RESOLVED FURTHER, that all acts lawfully done or actions lawfully taken by
the Authorized Persons (or their delegates) in accordance with these resolutions, or by any of the
Company’s retained professionals in accordance with their respective engagement letters or other
agreements, to seek relief on behalf of the Company under Chapter 11 of the Bankruptcy Code or
in connection with the Chapter 11 Case in connection with such proceedings, or any matter related
thereof, are hereby adopted, ratified, confirmed, and approved in all respects as the acts and deeds
of the Company;




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                RESOLVED FURTHER, that the Authorized Persons (and their delegates) are, and
each of them acting individually is, hereby authorized, empowered, and directed, in consultation
with and at the direction of the CEO, in the name and on behalf of the Company, to cause the
Company to enter into, execute, deliver, certify, file and/or record and perform such agreements,
instruments, motions, affidavits, applications for approvals or ruling of governmental or regulatory
authorities, certificates or other documents, to incur all such fees and expenses and to take such
other action, as in the judgment of such Authorized Person shall be or become necessary, proper
and desirable to prosecute to a successful completion of the Chapter 11 Case, to effectuate the
restructuring of debt, other obligations, organizational form and structure and ownership of the
Company and to carry out and put into effect the purposes of the foregoing resolutions and the
transactions contemplated by these resolutions; and

               RESOLVED FURTHER, that in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, each of the Authorized Persons (and their delegates) are
hereby empowered, authorized, and directed, in consultation with and at the direction of the CEO,
in the name of and on behalf of the Company, to take or cause to be taken any and all such other
and further action, to amend, supplement or otherwise modify from time to time, and to execute,
acknowledge, deliver and file any and all such agreements, certificates, instruments and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in this
Board’s judgment, shall be necessary, advisable or desirable in order to fully carry out the intent
and accomplish the purposes of the resolutions adopted herein.


                                         *       *       *

               IN WITNESS WHEREOF, the undersigned, constituting all the members of the
Board of Directors of the Company, have executed and delivered to the Company this Unanimous
Consent to be effective as of April 9, 2025.


 DIRECTORS


 /s/ Andrew C. Goldberg
 Andrew C. Goldberg                                   /s/ Peter A. Derow
                                                      Peter A. Derow

 /s/ Adam Sokoloff
 Adam Sokoloff                                        /s/ Lauren Stanich
                                                      Lauren Stanich

 /s/ Sameer Deen
 Sameer Deen




                                                 3
